AO 245C                Case
                (Rev. 09/11)   2:08-cr-00288-PMP-RJJ
                             Amended Judgment in a Criminal Case        Document 377            Filed 07/23/12(NOTE:
                                                                                                                  Page     1 Changes
                                                                                                                     Identify of 8 with Asterisks (*))
                Sheet 1


                                           UNITED STATES DISTRICT COURT
                                                                        District of                                      Nevada
           UNITED STATES OF AMERICA                                              2ND AMENDED JUDGMENT IN A CRIMINAL CASE
                      V.
                                                                                 Case Number:                    2:08-CR-288-PMP-RJJ
                CALWAY WILLIAM CAULEY                                            USM Number:                     43565-058
Date of Original Judgment: 8/6/2010                                              Todd Leventhal
(Or Date of Last Amended Judgment)                                               Defendant’s Attorney

Reason for Amendment:
G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                 G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                         Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))            G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
X Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                   to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                 G Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
                                                                                   G 18 U.S.C. § 3559(c)(7)
                                                                                 G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
G pleaded guilty to count(s)
G pleaded nolo contendere to count(s)
    which was accepted by the court.
X was found guilty on count(s)       ONE THROUGH FIVE OF THE SECOND SUPERSEDING INDICTMENT
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                    Nature of Offense                                                              Offense Ended                     Count
18 USC 1349                        Conspiracy to Commit Mail Fraud, Bank Fraud                                   12/2007                      1
18 USC 1341 & 2                    Mail Fraud; Aiding and Abetting                                               12/2007                      2
18 USC 1349                        Conspiracy to Commit Wire Fraud, Bank Fraud                                   8/2007                       3
18 USC 1344(2) & 2                 Bank Fraud; Aiding and Abetting                                               8/2006                       4&5

       The defendant is sentenced as provided in pages 2                  through 6          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
X Count(s) Original & Superseding Indictments G is X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                 7/23/2012
                                                                                 Date of Imposition of Judgment


                                                                                 Signature of Judge
                                                                                 PHILIP M. PRO, UNITED STATES DISTRICT JUDGE
                                                                                 Name and Title of Judge
                                                                                  July 23, 2012.
                                                                                 Date




 AO 245C           (Rev. 09/11) Amended Judgment in a Criminal Case
                   Sheet 2 — Imprisonment                                                                        (NOTE: Identify Changes with Asterisks
                  Case 2:08-cr-00288-PMP-RJJ                 Document 377            Filed 07/23/12          Page 2 of 8
                                                                                                  Judgment — Page          2   of   6
DEFENDANT:                 CALWAY WILLIAM CAULEY
CASE NUMBER:               2:08-CR-288-PMP-RJJ

                                                         IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of : TIME SERVED




G      The court makes the following recommendations to the Bureau of Prisons:




G      The defendant is remanded to the custody of the United States Marshal.

G      The defendant shall surrender to the United States Marshal for this district:
       G     at                                 G    a.m.      G    p.m.      on                                       .

       G     as notified by the United States Marshal.

G      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

       G     before 2 p.m. on                                            .

       G     as notified by the United States Marshal.

       G     as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                        to

at                                                   with a certified copy of this judgment.




                                                                                                  UNITED STATES MARSHAL


                                                                         By
                                                                                               DEPUTY UNITED STATES MARSHAL
AO 245C          Case
               (Rev.     2:08-cr-00288-PMP-RJJ
                     09/11) Amended Judgment in a Criminal Document
                                                           Case     377                 Filed 07/23/12           Page 3 of 8
               Sheet 3 — Supervised Release                                                            (NOTE: Identify Changes with Asterisks
                                                                                                     Judgment—Page          3     of         6
DEFENDANT:                 CALWAY WILLIAM CAULEY
CASE NUMBER:               2:08-CR-288-PMP-RJJ
                                                      SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
            FIVE (5) YEARS




         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The Defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court, not to exceed 104 tests annually. Revocation is mandatory for refusal to comply.
X      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
X      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
        felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
        record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the defendant’s
        compliance with such notification requirement.
AO 245C   (Rev. Case    2:08-cr-00288-PMP-RJJ
                09/11) Amended Judgment in a Criminal Case   Document 377    Filed 07/23/12        Page 4 of 8
          Sheet 3C — Supervised Release                                                       (NOTE: Identify Changes with Asterisks (*))
                                                                                           Judgment—Page        4      of         6
DEFENDANT:              CALWAY WILLIAM CAULEY
CASE NUMBER:            2:08-CR-288-PMP-RJJ

                                     SPECIAL CONDITIONS OF SUPERVISION
1. You shall not possess, have under your control, or have access to any firearm, explosive device, or other dangerous
weapons, as defined by federal, state, or local law.
2. You shall submit your person, property, residence, place of business and vehicle under your control to a search, conducted
by the United States probation officer or any authorized person under the immediate and personal supervision of the
probation officer, at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or
evidence of a violation of a condition of supervision; failure to submit to a search may be grounds for revocation; the
defendant shall inform any other residents that the premises may be subject to a search pursuant to this condition.
3. You shall be prohibited from incurring new credit charges, opening additional lines of credit, or negotiating or
consummating any financial contracts without the approval of the probation officer.
4. You shall provide the probation officer access to any requested financial information, including personal income tax
returns, authorization for release of credit information, and any other business financial information in which you have a
control or interest.
4. You shall provide the probation officer with accurate information regarding your entire computer system, including all
related digital devices with memory and all passwords and internet service providers; you shall allow the installation of any
software/hardware on your computer by the probation officer, and you shall abide by all rules of the Computer Restriction
and Monitoring Programs Agreement.
                Case 2:08-cr-00288-PMP-RJJ                       Document 377           Filed 07/23/12          Page 5 of 8
AO 245C    (Rev. 09/11) Amended Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties                                                           (NOTE: Identify Changes with Asterisks (*))
                                                                                                  Judgment — Page        5        of         6
DEFENDANT:                       CALWAY WILLIAM CAULEY
CASE NUMBER:                     2:08-CR-288-PMP-RJJ
                                            CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                       Fine                                Restitution
TOTALS           $ 500.00                                        $    0                                 $ 92,245.73


G The determination of restitution is deferred until             . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

X The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                Total Loss*                       Restitution Ordered                   Priority or Percentage
Sierra Pacific Mortgage Co, Inc                                                              92,245.73
50 Iron Point Circle, #200
Folsom, CA 95630




TOTALS                              $                                      $                92,245.73


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for           G fine       G restitution.
     G the interest requirement for the         G fine        G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
AO          (Rev.Case
                  09/11)2:08-cr-00288-PMP-RJJ            Document 377
                         Amended Judgment in a Criminal Case                             Filed 07/23/12          Page 6 of 8
            Sheet 6 — Schedule of Payments                                                              (NOTE: Identify Changes with Asterisks
                                                                                                     Judgment — Page         6      of        6
DEFENDANT:                 CALWAY WILLIAM CAULEY
CASE NUMBER:               2:08-CR-288-PMP-RJJ

                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    X Lump sum payment of $            500.00               due immediately, balance due

          G not later than                                       , or
          G in accordance with G C,              G D,      G     E, or    G F below; or
B    G Payment to begin immediately (may be combined with                G C,        G D, or      G F below); or
C    G Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    X Special instructions regarding the payment of criminal monetary penalties:
          RESTITUTION AMOUNT PAYABLE JOINTLY AND SEVERALLY AT THE RATE OF 10% OF DEFENDANT'S
          GROSS INCOME PER MONTH.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




X    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and corresponding
     payee, if appropriate.
     WILLIAM ERVIN, LADON McCLELLAN, JOYCE WILTURNER, TRUE WARNER




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
X    The defendant shall forfeit the defendant’s interest in the following property to the United States:
     SEE ATTACHED "AMENDED ORDER OF FORFEITURE"


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
           Case
            Case2:08-cr-00288-PMP-RJJ
                 2:08-cr-00288-PMP -RJJ Document
                                        Document377
                                                 375              Filed
                                                                  Filed 07/23/12  Page17ofof28
                                                                        07/20/12 Page



 1

 2

 3

 4

 5                               UNITED STATES DISTRICT COURT

 6                                      DISTRICT OF NEVADA

 7   UNITED STATES OF AMERICA,                         )
                                                       )
 8                         Plaintiff,                  )
                                                       )
 9           v.                                        )           2:08-CR-288-PMP-(RJJ)
                                                       )
10   CALWAY WILLIAM CAULEY,                            )
                                                       )
11                         Defendant.                  )

12                              AMENDED ORDER OF FORFEITURE

13          This Court found on March 2, 2010, that CALWAY WILLIAM CAULEY shall pay a criminal

14   forfeiture money judgment of $763,000.00 in United States Currency, pursuant to Fed. R. Crim. P.

15   32.2(b)(1) and (2); Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States

16   Code, Section 2461(c); and Title 18, United States Code, Section 982(a)(2)(A). Order of Forfeiture,

17   ECF No. 242.

18          THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United

19   States recover from CALWAY WILLIAM CAULEY a criminal forfeiture money judgment in the

20   amount of $763,000.00 in United States Currency pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and

21   (B); Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section

22   ...

23   ...

24   ...

25   ...

26   ...
         Case
          Case2:08-cr-00288-PMP-RJJ
               2:08-cr-00288-PMP -RJJ Document
                                      Document377
                                               375              Filed
                                                                Filed 07/23/12  Page28ofof28
                                                                      07/20/12 Page



 1   (2461(c); Title 18, United States Code, Section 982(a)(2)(A); and Title 21, United States Code,

 2   Section 853(p).

 3                     20th day
          DATED this ______ day of __________________,
                                   July, 2012.         2012.

 4

 5
                                               UNITED STATES DISTRICT JUDGE
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
